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                                  IN THE UNITED STATES DISTRICT COURT
                                      FOR THE DISTRICT OF COLORADO

                                       JUDGE ROBERT E. BLACKBURN

                   15-349-REB-SKC                                                  October 4, 2018
   Case No.:                                                              Date:

                         SAFE STREETS ALLIANCE, et al., v.ALTERNATIVE HOLISTIC HEALING, LLC, et al.,
   Case Caption:

                                        Defendants                                WITNESS LIST
                                           (Name and Party Designation)


                     WITNESS                                                   DATE(S) TESTIFIED
        Parker Walton                                                      October 30-November 1, 2018

         Ivor Hill                                                          October 30-November 1, 2018
         Melanie Bosarge                                                    October 30-November 1, 2018




   Rev. April 15, 2002
